            Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 1 of 15

<                                                                                                         ;         riLtU if'! M'f OM'iC't
                                                                                                         V*
                                                                                                                             mijPT ng-
                                                                        SUMMONS                               2070 FFR 19 PH L: 91
        Thirteenth Judicial District Court
        Sandoval County, New Mexico                                                                                  Audrey Garcia
        Court Address:
        1500 Idalia Road, Bldg. A                                                                             By.                       Deputy
        P.O. Box 600
        Bernalillo, NM 87004                                                        Case Number:              'P132-1 oi-tozo* 3 76
        Court Telephone: (505) 867-2376
                                                                                    Judge: t>i                                   V7
        Plaintiff(s)/Petitioner(s):                                                 Defendant/Respondent
             'PuvA               \rAoJW                                             Name:

       v.                                                                           Address:              1                  '      .
                                                                                                                                                            D
       Defendant(s)/Respondent(s):                                                                C GcvtVcV G\ycV
                                                 J7 QawAio                            R'lO 'GicvAcWd , WnX        HH
      ------------------ r-------------------------------------------------------- -------------------------------------------y----- ---------------------*—*   ■   '
          TO THE ABOVE NAMED DEFENDANT(S)/RESPONDENT(S): Take notice that:                                                                                      .|\oC5\/'
     1.     A lawsuit has been filed against you. A copy of the lawsuit is attached. The Court issued
     this Summons.
     2.     You must respond to this lawsuit in writing. You must file your written response with the
     Court no later than thirty (30) days from the date you are served with this Summons. (The date
    you are considered served with the Summons is determined by Rule 1-004 NMRA). The Court's
    address is listed above.
    3.       You must file (in person or by mail) your written response with the Court. When you file
    your response, you must give or mail a copy to the person who signed the lawsuit.
    4.      If you do not respond in writing, the Court may enter judgment against you as requested in
    the lawsuit.
    5.      You are entitled to a jury trial in most types of lawsuits. To ask for a jury trial, you must
    request one in writing and pay a jury fee.
    6.      If you need an interpreter, you must ask for one in writing.
    7.      You may wish to consult a lawyer. You may contact the State Bar of New Mexico for help
    finding a lawyer at www.njnbar.org; 1-800-876-6657; or 1-505-797-6066.
    Dated at Bernalillo, New Mexico, this \'ffi^day of
                                                                                            , 20 20 .
    Audrey r, Garcia, Court Manager 2
                                         Signature of Plaintiff/Petitioner or Attorney
                                                                                                              tZLA.
    By:                                  Name: fVu\ f(\
          Judicial Specialist            Address:
                \ 1                      _.   ,               kcc             ,/
                                         Telephone:             -130 -
          (COURT SEAL)               'Fax:                                       .
                                         Email Address: W'><MCov\/\Gv\TCQo^/yiJ
    THIS SUMMONS IS ISSUED PURSUANT TO RULE 1-004 OF THE NEW MEXICO RULE U                                                                                p6
    OF CIVIL PROCEDURE FOR DISTRICT COURTS.

                                                                                                                                              13 FEB’20?m3:I1




                                                                      EXHIBIT A
         Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 2 of 15
 0*




                                                RETURN
      STATE OF NEW MEXICO )ss
      COUNTY OF           )

   I, being duly sworn, on oath, state that I am over the age of eighteen (18) years and not a party to
   this lawsuit, and that I served this summons in                           county on the j / day of
       iff bn,taM,/ ,         , by delivering a copy of this summons, with a copy of complaint
   attached, in the following manner: (check one box and fill in appropriate blanks)
   []       to the defendant                                 {used when defendant accepts a copy of
   summons and complaint or refuses to accept the summons and complaint)
   []       to the defendant by [mail] [courier service] as provided by Rule 1-004 NMRA (used when
  service is by mail or commercial courier service).
   After attempting to serve the summons and complaint on the defendant by personal service or by
  mail or commercial courier service, by delivering a copy of this summons, with a copy of
  complaint attached, in the following manner:
  []        to                                   , a person over fifteen (15) years of age and residing at
  the usual place of abode of defendant _______ _______ , (used when the defendant is not
  presently at place of abode) and by mailing by first class mail to the defendant at
  _________________ (insert defendant's last known mailing address) a copy of the summons and
  complaint.
  []       to                                 the person apparently in charge at the actual place of
  business or employment of the defendant and by mailing by first class mail to the defendant at
  ____________________ (insert defendant's business address) and by mailing the summons and
  complaint by first class mail to the defendant at                               (insert defendant's last
  known mailing address).                      .
           to "Pp.jiefpci.                *_, an agent authorized to receive service of process for
/defendant          Z ; 7f/ ^
 []       to                        , [parent] [guardian] [custodian] [conservator] [guardian ad litem]
 of defendant                       ______(used when defendant is a minor or an incompetent
 person).
  []     to                                  (name of person),___________ ____        ____ ,
 (title of person authorized to receive service. Use this alternative when the defendant is a
 corporation or an association subject to a suit under a common name, a land grant board of
 trustees, the State ofNew Mexico or any political subdivision).

                                                         Fees:
 Signatureof person making service

 Title (ifany]   .&
          Subscribed and sworn to before me this           day of

                  J.
Judge, notary dr other officer authorized to administer oaths           Official title
     Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 3 of 15




STATE OF NEW MEXICO
COUNTY OF SANDOVAL
THIRTEENTH JUDICIAL DISTRICT COURT                                 2G2i;rr:o 13 r;i 2 o

PAUL MUELLER
     Plaintiff,                                                                           /

v.                                                           Case No.

CITY OF RIO RANCHO
                                                                        bl3ZT <LV-?.oz£>-
      Defendant.                                                                                     37^
                    PETITION FOR AN INJUNCTION AGAINST THE
                                                                     3       J
                                                                                                V
                              CITY OF RIO RANCHO

        COMES NOW, Paul Mueller, Pro Se, under NMRA Rule 1-066, for an injunction

against the City of Rio Rancho to cease and desist from spraying Glyphosate, weed killer, on the

back of my property and the easement behind my property that extends to the 10th St.

                                 JURISDICTION AND VENUE

        1. The Plaintiff resides at 1752 Lee Loop in Rio Rancho and Sandoval County.

        2. The City of Rio Rancho is in Sandoval County.

        3. The issue arises out of spraying herbicide on and by Plaintiffs property in Rio

Rancho.

        4. Jurisdiction and Venue are proper.
                                                                                              IF; FEB ’20-'Ho: 3'
                                                                                                                V J.

                                STATEMENT OF THE FACTS

        6. Paragraphs 1-4 are fully set forth here-in.

        7. On November 14th, 2011, the Plaintiff was stabbed 24 times in a carjacking.

        8. Since that time, Plaintiff developed the disability of PTSD that is recognized by the

Social Security Administration as well as other government agencies under the Americans with

Disabilities Act.

                                                  1
     Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 4 of 15




        9. Under this act, a person with a disability can make a reasonable request to a

government agency, in this case the City of Rio Rancho, to accommodate a change from the

City’s actions that has a debilitating effect on the Plaintiff (spraying Glyphosate on my property),

and it is the burden of the City to show the action requested is a fundamental alteration of the

City’s ability to function and is an essential part of Rio Rancho that can’t be stopped and

therefore deny the request.

        10. Plaintiff made a request to the City and the Mayor to stop spraying Glyphosate, weed

killer, on the back of Plaintiffs property and on the border easement that allows for him to exit

his property to the street, and he made this request sometime around 2014 or after.

        11. Plaintiff has used this easement since buying the property in 2000, and to not be able

to use this easement would take away from the quality of life he has come to know.

        12. The Plaintiff' has used this easement to walk his dog daily, and to load and unload

things from his house.

        13. This request to stop spraying Glyphosate was made years ago, and for a time it was

followed, but once in 2018, and once in 2019, the City sprayed Glyphosate on everyone’s

easement and on the back of their property all along 10th St, and this included Plaintiffs house.

        14. Plaintiff suffered panic attacks from fear the poison could give him cancer, and he

avoided the easement until after a good rainstorm.

        15. The Plaintiff complained to the city dozens of times, but not one answer from any

city official was given to Plaintiff.




                                              ,   2
     Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 5 of 15




        16. Plaintiff tried to forget about the poison and removed some of the poisoned soil to

 give the Plaintiff a pathway to leave his house.


        17. After a snowstorm in January 2020, that left snow and ice on the ground for days and

weeks in some areas, yellow material began to leech up to the surface and covered the ground in

many areas surrounding North Hills, which included the back of my property, and miles of

sidewalk.


        18. This was the Glyphosate the City had sprayed and there was no way to avoid it on

my pathway or the sidewalk where 1 walked my dog, and it obviously contaminated my property

when the wind would blow the soil and contaminants on my property, or so my mind believed.


        19. After being inundated with commercial after commercial that claims Glyphosate

causes cancer, I began to suffer panic attacks and distress about walking through my

neighborhood, and most importantly, the back of my house.


        20. I have expressed my concerns to the City, and once again made the reasonable

request to not spray Glyphosate on the back of my property and easement, and handed this to the

Mayor on February 3rd.


       21. The City has again avoided me completely, and has avoided the request to stop

spraying Glyphosate on my property.


       22. Due to the quality of my life being altered by the panic attacks and feeling that I will

develop cancer, caused solely by the City’s need to spray Glyphosate all over North Hills, and

the easement behind my property, I must request the court order the city to cease and desist

spraying Glyphosate on and near my property.



                                                    3
     Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 6 of 15




        23. It is my right, under the American’s with Disabilities Act, to make a request when

the City’s actions cause my condition of PTSD to be exacerbated, and it is the City’s burden of

proof to show why it cannot comply with this request.

        24. The City has treated me in a hostile manner and has made my life less fruitful under

this hostility, and for me to have peace of mind, it must stop.

       25. The request made is valid, as any city with common sense would not actively pursue

a campaign of hostility against its neighbor, that is unless the hostility was created to entice the

homeowner to move or suffer pain from the City’s egregious act of spraying Glyphosate.

       WHEREFORE, Plaintiff request the court order the following relief:

       A. That the city of Rio Rancho ceases and desists all spraying of Glyphosate on the

easement behind Plaintiffs house and all along the 10th St.

       B. That the City of Rio Rancho ceases and desists all spraying of Glyphosate on the

sidewalks of North Hills and surrounding community.

       C. That the City pays for the easement to be tested for Glyphosate, and if found

contaminated, that the City remove and replace the contaminated soil.

       D. That Rio Rancho pay any cost associated with bringing this action to court.

                                                       Respectfully submitted,
                                                   /

                                                  i rv Pafil Mueller
                                                       1752 Lee LoopNE
                                                       Rio Rancho, NM 87144
                                                       (505)730-0447
                                                       undocumentedgringo@hotmail.com


                                                  4
       Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 7 of 15




                                     Laura Ferrell, Ph.D.
                                      Clinical Psychologist
                        4686 Conrales Rd,, P.O. Box 2031, Corrales, NM 87048
                                           (505) 890-0444


    July 2, 2013


    To Whom It May Concern:

    This document is to confirm that Paul C. Mueller (DOB: 02-02-1971) was seen for
    psychotherapy in my office from April, 2012 until June, 2012 and again recently
    beginning in June 2013 until the present time. His primary diagnosis, and the
    focus of Ms treatment, is Post Traumatic Stress Disorder (PTSD). He reports
    severe intrusive recollections and n'-exjynjjiMiciug of traumatic events surrounding
    a 2011 crime in which he was car-jackffrand stablx*! repeatedly, then re|K>rtedly
    mistaken for a part of the crime and re-victimized by police and rescue workers.
i




                        y.—.
               /

    Ijaura Ferrell, Ph.D.
    Clinical Psychologist
    New Mexico License #704




                   X                     VW
       a.'Act dL e\                     i \\      di tXd A                 A{0'<'s\    PT&,
                                                                                \\\^       .

       o. w^ X                 ^
        Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 8 of 15


RECEIVED
    FEB o 3 202U              p          Torts Claim Notice
                              I'-CASOAtlplc                       0 r\^<nT AC)A
    Dear Mayor,


    For years I asked you not to spray Roundup on the back of my property. I wrote a letter to you
    stating that it would affect my PTSD, in 2014, and this spraying caused me to believe 1 would
    catch cancer from the poison. Now, it has been officially determined that Roundup, or any
    product using glyphosate, causes cancer and the city has sprayed it twice to the back of my house
    in the last 2 years. I must make a request that you stop using this product around my house or
    anywhere near it.
    I have PTSD, and under the Americans with Disabilities Act, I can make a reasonable request for
    the City to stop doing something that disrupts my peace of mind, and thinking you are getting
    cancer disrupts all peace in my life. If you spray Roundup on the back of my property one more
    time, I feel I must sue for the intentional infliction of emotional distress, and I will win.
i
^ This isn’t my first rodeo with people abusing me. If 1 cannot ask, and get the respect for you to
  stop, then I must officially notify you so I can then sue you for the abuse. You have said that
  you don’t like me, and that you don’t care what 1 think. If you still feel this way, and cannot
  compromise with my wishes, I must sue you personally for discrimination since it is a personal
  attack. If you do not believe me, then come look at all the contamination from Roundup easily
  visible by the human eye.
    Please do not spray Roundup on the back of my property or near it, or I will
    be forced to sue for Intentional Infliction of Emotional Distress. Thanks for
    respecting me.
                                                                           /
                                                                          SK___

                                                               Paul Mueller
                                                               1752 Lee Loop
                                                               Rio Rancho, NM 87144
                                                               505-730-0447
                Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 9 of 15
#»• f'


                                                                                       fldJ i!'! Mr Ofr'C-
                 •   T   -
                     ^ T-r-»
             s> I A-l I C v-ri
                                >    •   r
                                    1■ A If   n #i
                                              mc/\iOO
                                                        . . .                       dSMcr cc?iu,sa..,..
         , ' ’county of __________cCoo <-U                      :
              13th judicial district court                                        2020 FEB 13 Pil £ Q/f


                     Poaj\ M^Vx/                                                                             cA
                                                                                  By
                                                                                                    Deputy
                             Plaintiffs )/Petitioner(s),

            Vs.                                                           No.                                       37^
            fjtV;                             &io ^gV^Xo.
                               efendant(s)/Respondent(s).

                     APPLICATION FOR FREE PROCESS AND AFFIDAVIT OF INDIGENCY
                  I request that the court enter an order permitting me to file this case without
           prepayment of fees and costs and give upon my oath.or affirmation the following
           statement.

           My marital status is: single^, married__divorced___separated__ widowed

           I request interpretation services: yes               no)T If yes, describe what you need:



           INFORMATION ABOUT MY FINANCES (check all that apply to you and fill in the
           blanks):

                         A. PUBLIC ASSISTANCE
                          I do not receive public assistance (if you check this blank, go directly to Section
                         B, EMPLOYMENT/UNEMPLOYMENT)                              ^
           JC            I currently receive the following public assistance in 3£v\ck>OcA
                                                                                                    County:
                         __ Temporary Assistance for Need Families (TANF)
                                Food Stamps'
                         ~)C Medicaid
                         __ General Assistance (GA)
                         __ Supplemental Security Income (SSI)
                         ___ Social Security Disability Income (SSDI)
                         __ Public Housing
                         ___ Disability Security Income (DSI)
                         __ Department of Health Case Management Services (DBMS)
                         __ Other (please describe____________________________

                         B. EMPLOYMENT/UNEMPLOYMENT
          jL             I am currently unemployed and have been unemployed for [[) months in the
                         past year. I am unemployed because______________________________

                         I receive unemployment benefits in the amount of $                     per month.



                                                                                                                1
       Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 10 of 15
w

            1 hSTvo i'iO’ income because ! artfuneiTiployeur-'
            I am employed,
            My employer’s name, address and phone number is:



           I am paid: weekly__ every other week__ twice a month___
           once a month__ . When I am paid my net take-home pay minus
           deductions required by law like state and federal tax withholding and
                                                                                 FICA
           is $
           I am married, and my spouse is unemployed and has been unemployed
           for___ months in the past year because______________________

            My spouse receives unemployment benefits in the amount of $_
           per month.
     __    I am married, and my spouse is employed.
           My spouse’s employer’s name, address and phone number is:



          My spouse is paid: weekly___ every other week___ twice a month
          __ once a month___. When my spouse is paid his or her net take-
          home pay minus deductions required by law like state and federal tax
          withholding and FICA is $____________ .

          C. OTHER SOURCES OF INCOME
     K    I have income from another source not mentioned above.
          __      Child Support $________
          __      Alimony $ _____
          __      Investments $_________
                  Community property from my spouse $________
                  Other             , Oo A            $ UQlQ                      166 Va
    ___   I do not have any other sources of income.
    ___   I am married, and my spouse has income from another source not
          mentioned above.
          __      Child Support $________
          __      Alimony $________
          __    Investments $__________
          __    Community property from my spouse $_________
          __    Other                               $
    ___   I am married, and my spouse does not have any other sources of incom
                                                                               e.
          D. OTHER ASSETS (Please list other assets owned by you or your
             spouse that can be turned into cash. Do not include money you
             have in retirement accounts):
    Cash on hand                    $.___[510_______
    Bank accounts                   $       i 5~Q______ _

                                                                                  2
           Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 11 of 15
KV




     • ■ •' Incorns tsx refund'             $    l^QQ
          ' Other assets (describe below)   $.



         IF YOU DO NOT HAVE ACCESS TO YOUR OWN OR YOUR SPOUSE’S
               INCOME OR ASSETS, EXPLAIN WHY.



                   E. MONTHLY EXPENSES
          House payment/rent            $
          Utilities                     S
         Telephone
         Groceries (after food stamps)
                                       $
                                         $
                                                  is:
                                                 °?.C)Q
         Car payment(s)                $.         ©
         Gasoline
         Insurance
                                       $.        LSO
                                       $
         Child care                    $           o
        -Student and Consumer Loans     $          0
        Court-ordered family support   $           5
                  Obligations
        Other court-ordered payments   $
        Medical expenses                              0
        Other                          $.          n
                F. HOUSEHOLD
        I live at______
        And the head of the household is          ycW
        Other than myself, the other members of the household are:
        Name                             Age Employment              I support
                                                                      I ]
                                                                      [ ]
                                                                       [ ]
                                                                      [1
                                                                      [ 1
                                                                       l ]




                                                                                 3
        I'   .
                    Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 12 of 15
■'-■f



                     This statement is mads under oath. =i hereby
                                                                    state that ihe-z-boVG-
                 ■ 'information regarding my financial condition
                                                                    is correct to the best of my
                    knowledge. I hereby authorize the Court to
                                                                   obtain information from
                    financial institutions, employers, relatives, the
                                                                      federal internal revenue
                   service and other state agencies, if at any time
                                                                       the Court discovers that the
                   information in this application for free process
                                                                      was false, misleading,
                   inaccurate, or incomplete at the time the appl
                                                                    ication was submitted, the
                   Court may require me to pay for any costs or
                                                                    fees that were waived under
                   an order of free process that was granted base
                                                                      d on the information in this
                   appiicaftlorh.


                                                                  __ Petitioner/^lainiiff^
                  signature
                                                                  __ Respondent/Defendant


                  print name
                               CU m               ijfllu/


                               Q5X_J
                  print street address_
                                                        Loo ft
                         ^                              kIM       SlW'A
                 print city, state and zip code    '


                 telephone


                 STATE OF NEW MEXICO              )
                                                  ) ss
                 COUNTY OF        ‘Cbc<^r\.cl Oocul)

                 Acknowledged, subscribed and sworn to before
                 "[ i/j                                        me this     1-0 day of
                               , ToTbby             0,k-r'icidf''. pAf a .
                                                                                                 U'-os,
                 Notary public:
                                          C            A. Ss^.


                 My commission expires:
                                                           C-uj   ZT?       7
                                                                        I




                                                                                ;
                                                                                    ■
                                                                                    rKsr&r
                                                                                             ,   ©IFF) CA‘L SEAL

                                                                                                          PUBLIC

                                                                                                              U-r7QK^




                                                                                                          4
            Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 13 of 15
#•


           IF YOU"Ann REFRcSENfED BYlAhi ATTORNEY, YOUR ATTOR'MEY ^USf "                               ; :v
     .   "'SIGN the following certificate.

                                                                , hereby certify that I have not
                    received any attorney fee to represent                                 .. If any
                    attorney fee is paid to me, I understand that I shall pay to the court clerk

                    from such attorney fee any court fees and costs that may be waived by the

                    court.


                                                       (Attorney signature)


                                                       (address)


                                                       (city, state, zip)


                                                      (telephone/fax number)




         12/15/08




                                                                                                   5
      iv .        Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 14 of 15

3-.., .
          *
                                                                                 rttbimoFi-o-
                                                                               aSTfSC" casr C; 3-'
     ■ - ■*!*•££: STATE OF NEW. MEXICO. v*     *:• - • • * ;               ,    ..        =■ V -        '--v.        .«•
                  COUNTY OF     SANDOVAL                                  MO FEB 13 PH 2:
                  13th JUDICIAL DISTRICT COURT
                                                                                        u;,rCia

                                                                          By__                 Deputy   c/-
                        rLo\ T^\\k%w
                        Plaintiff(s)/Petitioner(s),

                  Vs.                                            No.    T> 133^ Ca/-Z^-^%
                    (LlVsi oV Qio QaV\cl4Q
                        Defendant(s)/Respondent(s).

                                ORDER ON APPLICATION FOR FREE PROCESS

                         THIS MATTER, having come before the court on Plaintiff's/Petitioner’s
                 application for free process and affidavit of indigency, or upon Petitioner's
                 attorney’s certificate supporting indigency and free process pursuant to Rule
                 23-114(B)(2) NMRA, and the court being otherwise fully advised in the premises,
                 FINDS that:
                 [ ] the applicant is entitled to free process in accordance with Rule 23-114(B)(2)
                 NMRA.
                 Dfl the applicant receives public assistance and is, therefore, entitled to free
                 process.
                 [ ] the applicant’s annual income does not exceed one hundred and fifty percent
                                                                                                                           /
                 (150%) of the federal poverty guidelines, and the applicant is, therefore, entitled
                 to free process.
                 [ ] on the basis of the applicant's available funds or annua! income, the.
                 applicant is not entitled to free process.

                        THE COURT ORDERS that:
                 [ 1 the filing fee is waived.                     &&
                 b(] the filing fee Is waived except for the $                 alternative dispute
                 resolution fee (ADR) fee.
                 [y] the applicant is granted free service opprocess by the Sheriff in
                    <^v4w             County, New Mexico fq£y2 3 4 5 or______
                 summons(es), provided that the applicanifirst attempts service by certified mail
                 pursuant to Rule 1-004 NMRA.
                 [ ] the applicant is granted free service by the Sheriff in______________
                 County, New Mexico, of a temporary restraining order or
                                                                                              faCiuT    .... .   V




                 [ ] the applicant is to pay the filing fee on                         .,'2
                 [ l free process is denied.



                                                                                                          1
,v ■           Case 1:20-cv-00231-JCH-LF Document 1-1 Filed 03/13/20 Page 15 of 15

 ^ r * .
       - ^

  •            ■ [.]• Other:--            . -. r
                                                                                           t   f •




                 Unless specifically granted above, this
                                                                order of free process does not include
                following costs: jury fees, certification                                                   the
                                                           fees, subpoena fees for witnesses, witn
                for hearings or trials, mailings, long dista                                        ess fees
                                                             nce charges, transcripts for appeals or
                proper, duplication fees for audiotapes                                                record
                                                            or compact discs, copy charges, publicat
                or facsimile services. Application for all                                             ion fees
                                                             other costs are to be made to the judg
                assigned to your case. If the applican                                              e
                                                         t prevails in this lawsuit and collects mon
               judgment or settlement, the court is to                                               ey by
                                                          be reimbursed for any waived costs. This
               subject to revision, modification or reci                                                order is
                                                          ssion by the judge assigned to your case
                                                                                                     .




                                                   !          /DISTRICT COURT JUDGE




             12/15/08




                                                                                                           2
